 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 1 of 14



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     WOLLMUTH MAHER & DEUTSCH LLP
     Paul R. DeFilippo, Esq.
     500 Fifth Avenue
     New York, New York 10110
     Telephone: (212) 382-3300
     Facsimile: (212) 382-0050
     pdefilippo@wmd-law.com

     JONES DAY
     Gregory M. Gordon, Esq.
     Brad B. Erens, Esq.
     Dan B. Prieto, Esq.
     Amanda Rush, Esq.
     2727 N. Harwood Street
     Dallas, Texas 75201
     Telephone: (214) 220-3939
     Facsimile: (214) 969-5100
     gmgordon@jonesday.com
     bberens@jonesday.com
     dbprieto@jonesday.com
     asrush@jonesday.com
     (Admission pro hac vice pending)

     PROPOSED ATTORNEYS FOR DEBTOR
     In re:                                                          Chapter 11

     LTL MANAGEMENT LLC,1                                            Case No.: 23-12825 (MBK)

                                 Debtor.                             Judge: Michael B. Kaplan


                  DEBTOR’S MOTION FOR AN ORDER APPOINTING
     RANDI S. ELLIS AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS

                      The above-captioned debtor (the “Debtor”) moves the Court for the entry of an

 order, pursuant to sections 524(g)(4)(B)(i) and 105(a) of the Bankruptcy Code, appointing

 Randi S. Ellis as the legal representative for future talc claimants (the “Future Claimants’




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.


 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 2 of 14



 Representative”) in this chapter 11 case. In support of this Motion, the Debtor respectfully states

 as follows:

                                      Jurisdiction and Venue

                  1.    This Court has subject matter jurisdiction to consider this matter pursuant

 to 28 U.S.C. §§ 157 and 1334, and the Standing Order of Reference to the Bankruptcy Court

 Under Title 11 of the United States District Court for the District of New Jersey, dated

 September 18, 2012 (Simandle, C.J.) (the “Standing Order of Reference”). This is a core

 proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409. The Debtor is authorized to continue to manage its property and

 operate its business as a debtor in possession pursuant to sections 1107(a) and 1108 of title 11 of

 the United States Code (the “Bankruptcy Code”).

                  2.    The statutory predicates for the relief requested herein are

 sections 524(g)(4)(B) and 105(a) of the Bankruptcy Code.

                                            Background

                  3.    On April 4, 2023 (the “Petition Date”), the Debtor commenced this

 reorganization case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy

 Code.

                  4.    The Debtor, a North Carolina limited liability company, is a defendant in

 thousands of lawsuits asserting personal injuries allegedly caused by exposure to talc-containing

 products. It is the direct parent of Royalty A&M LLC, a North Carolina limited liability

 company, which manages a portfolio of royalty revenue streams, including some based on third

 party sales of certain products, and will seek opportunities to acquire or finance additional

 royalty revenue streams.



                                                 -2-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 3 of 14



                  5.      In the Debtor’s prior chapter 11 case filed on October 14, 2021 (the “2021

 Chapter 11 Case”), the Court entered an order establishing a selection protocol for the

 appointment of the Future Claimants’ Representative in that case. See In re LTL Mgmt. LLC,

 No. 21-30589 (MBK) (Bankr. D.N.J. Jan. 13, 2022), Dkt. 1135. Pursuant to the protocol, the

 official talc committees, the Debtor and the Court each proposed up to three nominees for

 appointment as the Future Claimants’ Representative. Following the nominations, the Debtor

 and the talc committees consented to the appointment of Randi S. Ellis as the Future Claimants’

 Representative. On March 18, 2022, the Court entered an order appointing Ms. Ellis as the

 Future Claimants’ Representative in the 2021 Chapter 11 Case. See In re LTL Mgmt. LLC,

 No. 21-30589 (MBK) (Bankr. D.N.J. Mar. 18, 2022), Dkt. 1786 (the “FCR Appointment

 Order”). Ms. Ellis was the first woman to ever be appointed a Future Claimants’

 Representative.2

                  6.      Following her appointment, Ms. Ellis was active in the 2021 Chapter 11

 Case. She retained Walsh Pizzi O’Reilly Falanga LLP as counsel, Berkeley Research

 Group, LLC as economic consultant to provide expert consulting services and analysis of talc

 claims and Bederson LLP as financial advisor. She participated in the Court-ordered mediation

 process with the other key constituencies in the 2021 Chapter 11 Case. And, after the Court

 appointed an expert under Rule 706 of the Federal Rules of Evidence to prepare and file a report

 containing his opinions on the number and value of the current and future talc claims, she

 engaged in discussions with the Court-appointed expert regarding estimation issues. Ms. Ellis

 served as the Future Claimants’ Representative in the 2021 Chapter 11 Case until April 4, 2023,


 2
         See Mar. 8, 2022 Hr’g Tr. 7:10-14, In re LTL Mgmt. LLC, No. 21-30589 (MBK), Dkt. 1668 (Bankr.
         D.N.J.) (As noted by the talc claimant committee’s counsel, “Ms. Ellis, if appointed, will be the first
         woman Future Claims Representative in the entire history of Future Claims Representatives in the United
         States, and we think it appropriate that it happened in this case.”).

                                                       -3-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 4 of 14



 when the Court entered an order dismissing the case. See In re LTL Mgmt. LLC, No. 21-30589

 (MBK) (Bankr. D.N.J. Apr. 4, 2023), Dkt. 3938 (the “Dismissal Order”).

                  7.      The Debtor commenced this chapter 11 case (the “Chapter 11 Case”) after

 reaching agreement on the material terms of a plan of reorganization with thousands of talc

 claimants. That agreement has been memorialized in a series of plan support agreements that

 have been executed and delivered by numerous plaintiff law firms on behalf of claimants with

 ovarian cancer and mesothelioma claims. The Debtor intends to pursue confirmation of a plan of

 reorganization that contains the terms agreed to in the plan support agreements as soon as

 possible. A comprehensive description of the Debtor, its history, its assets and liabilities and the

 events leading to the commencement of the Chapter 11 Case can be found in the declaration of

 John K. Kim [Dkt. 4] (the “First Day Declaration”), which was filed on the Petition Date and is

 incorporated herein by reference.

                                               Relief Requested

                  8.      Pursuant to sections 524(g)(4)(B)(i) and 105(a)3 of the Bankruptcy Code,

 the Debtor requests that the Court appoint Randi S. Ellis as the Future Claimants’

 Representative, the same role she served in the 2021 Chapter 11 Case, to protect the rights of

 future talc claimants in this Chapter 11 Case in accordance with the terms and conditions

 described below.




 3
         Pursuant to section 105(a) of the Bankruptcy Code, the Court may issue an order to assist in carrying out
         the other provisions of the Bankruptcy Code, including by appointing a future claimants’ representative as
         contemplated by section 524(g)(4)(B)(i) of the Bankruptcy Code. See In re Forty-Eight Insulations, Inc.,
         58 B.R. 476, 477 (Bankr. N.D. Ill. 1986); In re Johns-Manville Corp., 36 B.R. 743, 757 (Bankr. S.D.N.Y.
         1984); see also In re Garlock Sealing Techs., No. 10-31607 (GRH) (Bankr. W.D.N.C. Sept. 16, 2010).

                                                        -4-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 5 of 14



                          The Need for a Future Claimants’ Representative

                  9.      In view of the substantial support of more than 60,000 talc claimants for

 the material terms of a plan of reorganization, and taking into account the excessive cost, burden,

 uncertainty and anticipated decades-long duration of the cosmetic talc litigation, the Debtor

 determined to file this Chapter 11 Case, which offers the only means through which the Debtor

 and talc claimants can fully, equitably and permanently resolve all current and future talc-related

 claims. See First Day Decl. ¶ 77. To achieve a prompt resolution, the Debtor intends promptly

 to engage in good faith negotiations to finalize the terms of a plan of reorganization consistent

 with the terms set forth in the plan support agreements and file a plan by May 14, 2023, or as

 soon thereafter as feasible, as required by the plan support agreements. Such a resolution

 requires, however, that future talc claimants, a key constituency in this Chapter 11 Case, be

 adequately represented. As a result, the prompt appointment of a future claimants’

 representative who is in a position to immediately participate in negotiations regarding a plan of

 reorganization is critical.

                  10.     The appointment of a legal representative to protect the rights of future

 claimants is well established in chapter 11 proceedings, and future claimants’ representatives are

 routinely appointed in mass tort-related chapter 11 cases in this District and in others.4 Indeed,


 4
         See, e.g., FCR Appointment Order; In re Mallinckrodt plc, et al., No. 20-12522 (JTD) (Bankr. D. Del. Mar.
         16, 2021); In re Aldrich Pump LLC, No. 20-30608 (JCW) (Bankr. W.D.N.C. Oct. 14, 2020); In re DBMP
         LLC, No. 20-30080 (JCW) (Bankr. W.D.N.C. June 1, 2020); In re Boy Scouts of Am. and Del. BSA, LLC,
         No. 20-10343 (LSS) (Bankr. D. Del. Apr. 24, 2020); In re Imerys Talc Am., Inc., No. 19-10289 (LSS)
         (Bankr. D. Del. June 3, 2019); In re Duro Dyne Nat’l Corp., No. 18-27963 (MBK) (Bankr. D.N.J. Oct. 17,
         2018); In re Bestwall LLC, No. 17-31795 (LTB) (Bankr. W.D.N.C. Feb. 23, 2018); In re TK Holdings Inc.,
         No. 17-11375 (BLS) (Bankr. D. Del. Sept. 6, 2017); In re Kaiser Gypsum Co., Inc., No. 1631602 (JCW)
         (Bankr. W.D.N.C. Oct. 19, 2016); In re Yarway Corp., No. 13-11025 (BLS) (Bankr. D. Del. May 28,
         2013); In re Metex Mfg. Corp., No. 12-14554 (BRL) (Bankr. S.D.N.Y. Jan. 16, 2013); In re Specialty
         Prods. Holding Corp., No. 10-11780 (JKF) (Bankr. D. Del. Oct. 18, 2010); In re Garlock Sealing Techs.,
         No. 10-31607 (GRH) (Bankr. W.D.N.C. Sept. 16, 2010); In re Durabla Mfg. Co., No. 09-14415 (MFW)
         (Bankr. D. Del. May 3, 2010); In re W.R. Grace & Co., No. 01-01139 (JKF) (Bankr. D. Del. May 24,
         2004).

                                                       -5-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 6 of 14



 as noted above, this Court appointed Ms. Ellis as the Future Claimants’ Representative in the

 2021 Chapter 11 Case. In addition, for a trust established under section 524(g) of the

 Bankruptcy Code, as contemplated by the plan support agreements, one of the conditions that

 must be met for the issuance of a channeling injunction under that section is that the Court

 appoint a future claimants’ representative. See 11 U.S.C. § 524(g)(4)(B)(i).

                  11.      The Debtor submits that Ms. Ellis is the best candidate to represent the

 interests of the future talc claimants and, therefore, should be appointed as the Future Claimants’

 Representative in this Chapter 11 Case. Ms. Ellis is highly qualified to serve as Future

 Claimants’ Representative and she has significant knowledge regarding the Debtor and the

 nature and extent of its talc liability as a result of her experience as the Future Claimants’

 Representative in the 2021 Chapter 11 Case.

                                          Basis for Relief Requested

 Ms. Ellis Is Uniquely Well Qualified to Serve as the Future Claimants’ Representative,
 and No Adverse Interest Precludes Her from Serving in that Role.

                  12.      Ms. Ellis is uniquely well qualified to serve as the Future Claimants’

 Representative in this Chapter 11 Case.5 As an initial matter, the Court already found in the

 2021 Chapter 11 Case that Ms. Ellis has the necessary qualifications to serve as the Future

 Claimants’ Representative. See FCR Appointment Order. The Debtor and the official talc

 committees agreed by consenting to her appointment.

                  13.      In addition, Ms. Ellis is even more qualified now to serve as the Future

 Claimants’ Representative based on her active involvement in the 2021 Chapter 11 Case.



 5
         In support of this Motion, the Debtor further submits the Declaration of Randi S. Ellis, which is attached
         hereto as Exhibit A (the “Ellis Declaration”). A copy of Ms. Ellis’ curriculum vitae is attached as
         Schedule 1 to the Ellis Declaration. The Ellis Declaration, including Ms. Ellis’ curriculum vitae, is
         incorporated herein by reference.

                                                         -6-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 7 of 14



 Ms. Ellis was actively involved in, among other things, mediation and the court-ordered process

 for estimating the number and value of current and future mesothelioma and ovarian cancer

 claims. See Ellis Decl. ¶ 3. As a result, she is familiar with the Debtor, its history, including in

 litigation, and its talc liabilities. Id.

                  14.     In addition, it is critical to the successful resolution of this Chapter 11

 Case that the Court appoint a representative for future talc claimants promptly who can

 immediately participate in negotiations regarding a plan of reorganization. The Debtor intends to

 move quickly to obtain additional support for, and pursue confirmation of, a plan of

 reorganization that contains the terms set forth in the plan support agreements. In fact, under the

 plan support agreements, the Debtor is obligated to use commercially reasonable efforts to file a

 plan of reorganization by May 14, 2023, or as soon thereafter as feasible. See First Day Decl.

 ¶ 73. Given her experience in the 2021 Chapter 11 Case, Ms. Ellis will not have to spend time

 familiarizing herself with the Debtor and its assets and liabilities and should be in a position to

 immediately engage in negotiations with the Debtor and other key constituencies regarding a

 plan of reorganization. Thus, the appointment of Ms. Ellis as the Future Claimants’

 Representative is critical to ensure that the future talc claimants—a key constituency—are well

 represented during this critical time of this Chapter 11 Case.

                  15.     Ms. Ellis has significant experience as a court-appointed fiduciary and has

 gained nationwide recognition for these roles. Her legal practice is devoted to helping parties

 navigate complex civil cases and reach just and equitable resolutions. In particular, Ms. Ellis has

 been appointed, by both state and federal courts, to serve as arbitrator, neutral, special master,

 guardian ad litem or meditator in numerous complex civil cases, multi-district litigation matters

 and other mass tort products liability cases.



                                                    -7-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 8 of 14



                  16.   For example, Ms. Ellis’ experience serving as a special master includes:

 In re Paraquat Products Liability Litigation, MDL No. 3004 (S.D. Ill. J.P.M.L.) (appointed by

 court to serve as special master in multidistrict litigation case concerning injuries that were

 caused by exposure to the herbicide paraquat); In re Roundup Products Liability Litigation, MDL

 No. 2741 (N.D. Cal. J.P.M.L.) (selected by parties to serve as special master for allocation

 purposes in multidistrict litigation concerning products liability claims from exposure to

 glyphosate-based herbicides); In re Pradaxa (Dabigatran Etexilate) Products Liability Litigation,

 MDL No. 2816 (S.D. Ill. J.P.M.L.) (appointed by court to serve as special master for mediation

 and allocation purposes in multidistrict litigation arising from anticoagulant pharmaceutical use,

 and allocated $650 million settlement fund to claimants).

                  17.   Ms. Ellis also has significant experience serving as a court-appointed

 mediator, and has served in that capacity in several cases, including In re Coloplast Corp. Pelvic

 Support Systems Products Liability Litigation (Vaginal Mesh), MDL No. 2387 (S.D. W.Va.

 J.P.M.L.) (served as a mediator concerning products liability claims arising out of vaginal mesh

 use and was appointed by the court to serve as the special master in the allocation of aggregate

 settlement funds); In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on

 April 20, 2010, MDL No. 2179 (E.D. La. J.P.M.L.) (appointed as mediator by the court to

 resolve personal injury claims and appointed to serve as the court-designated neutral to resolve

 various matters); In re Chinese-Manufactured Drywall Products Liability Litigation, MDL

 No. 2047 (E.D. La. J.P.M.L.) (appointed by the court to serve as mediator where she obtained the

 commitments of more than 600 defendants to participate in a global settlement); McClurg et al.

 v. Mallinckrodt, Inc. et al., 4:12-cv-00361 (E.D. Mo.) (appointed by the court to serve as

 mediator and special master for settlement and allocation in consolidated actions seeking



                                                  -8-
 NAI-1535876060
 Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 9 of 14



 damages for injuries allegedly sustained as a result of multiple decades of exposure to hazardous,

 toxic, and radioactive substances).

                  18.   In her experience as a mediator and special master, Ms. Ellis has

 demonstrated a dedicated focus to achieving the best result for all parties. The Debtor anticipates

 that Ms. Ellis’ undivided focus will be on representing vigorously the interests of future talc

 claimants in this Chapter 11 Case.

                  19.   Ms. Ellis’ unique knowledge with respect to the Debtor’s future talc

 claimants resulting from her prior position in the 2021 Chapter 11 Case, her many years of

 experience serving in a broad range of fiduciary capacities and her many years of practice make

 her highly qualified to represent the interests of the future talc claimants in this Chapter 11 Case.

                  20.   Ms. Ellis has informed the Debtor that, as of the Petition Date, she was

 owed a total of $72,766.90 in connection with her services as the Future Claimants’

 Representative in the 2021 Chapter 11 Case. The Debtor intends shortly to file a motion with

 this Court seeking authority to pay all amounts that it owes under the Dismissal Order, including

 the fees and expenses that are allowed pursuant to the procedures set forth in the Dismissal

 Order. Those amounts will include the fees and expenses owed to Ms. Ellis. See Dismissal

 Order ¶ 5 (providing that fees for services rendered or expenses incurred in the 2021 Chapter 11

 Case through the Dismissal Date (as defined therein) are allowed on a final basis subject to the

 procedures set forth therein). Accordingly, subject to authorization from this Court to permit the

 Debtor to pay its outstanding obligations under the Dismissal Order, Ms. Ellis’s outstanding fees

 and expenses will be fully satisfied pursuant to the Dismissal Order.

                  21.   The Debtor believes, in reliance on the Ellis Declaration, that Ms. Ellis is

 able to fulfill the duties owed by a fiduciary and has the ability to be an effective advocate for the



                                                  -9-
 NAI-1535876060
  Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 10 of 14



 best interests of the future talc claimants. See In re Imerys Talc Am., Inc., 38 F.4th 361, 374,

 376 (3d Cir. 2022). The Debtor further believes that Ms. Ellis has no adverse interest that would

 preclude her appointment as the Future Claimants’ Representative in this Chapter 11 Case.

                        Terms and Conditions of Ms. Ellis’ Appointment

                  22.   The Debtor requests that the appointment of Ms. Ellis’ be approved on the

 following terms and conditions:

                        (a)    Appointment. Ms. Ellis’ will be appointed as the Future
                               Claimants’ Representative to represent and protect the rights of,
                               absent further order of the Court, natural persons or the
                               representatives of estates of natural persons that may assert a
                               demand for payment, present or future, that: (i) is not a claim
                               during the proceedings prior to the entry of an order confirming a
                               plan of reorganization (the “Plan”), because such natural person
                               was diagnosed with disease after such time; and (ii) arises out of
                               the same or similar conduct or events that gave rise to the claims to
                               be addressed by an injunction issued to enjoin entities from taking
                               legal action for the purpose of directly or indirectly collecting,
                               recovering, or receiving payment or recovery with respect to any
                               claim or demand that, under the Plan, is to be paid in whole or in
                               part by a trust established pursuant to section 524(g)(2)(B)(i)
                               and/or 105(a) of the Bankruptcy Code (collectively, the “Future
                               Claimants”). The Future Claimants’ Representative shall represent
                               the interests of, appear and act on behalf of, and be a fiduciary to
                               Future Claimants to protect the rights and interests of such Future
                               Claimants and shall be entitled to compensation in connection
                               therewith from the date of the filing of this Motion. Ms. Ellis will
                               have no other obligations except those that may be prescribed by
                               orders of the Court and accepted by Ms. Ellis.

                        (b)    Party in Interest. The Future Claimants’ Representative shall be a
                               party in interest in this case and shall have standing under
                               section 1109(b) of the Bankruptcy Code to be heard on any issue in
                               this case in the Bankruptcy Court, the District Court, or any other
                               court affecting the rights of Future Claimants. The Future
                               Claimants’ Representative shall have the powers and duties of a
                               committee set forth in section 1103 of the Bankruptcy Code as are
                               appropriate for a Future Claimants’ Representative.

                        (c)    Engagement of Professionals. Ms. Ellis may employ attorneys and
                               other professionals consistent with sections 105, 327, and 1103 of
                               the Bankruptcy Code, subject to prior approval of this Court. Such

                                                -10-
 NAI-1535876060
  Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 11 of 14



                           attorneys and other professionals will be subject to the terms of
                           any order establishing procedures for interim compensation and
                           reimbursement of expenses of retained professionals entered by
                           this Court (an “Interim Compensation Order”).

                    (d)    Compensation. Compensation, including professional fees and
                           reimbursement of expenses, will be payable to Ms. Ellis and her
                           professionals from the Debtor’s estate, subject to approval of this
                           Court, and in accordance with the terms, conditions, and
                           procedures set forth in the Interim Compensation Order. Ms. Ellis
                           will be compensated at the rate of $1,015 per hour, subject to
                           periodic adjustment (usually on January 1 of each year) in the
                           ordinary course of Ms. Ellis’ business, plus reimbursement of
                           actual, reasonable and documented out-of-pocket expenses.

                    (e)    Liability Insurance. Consistent with the FCR Appointment Order,
                           the Debtor shall pay for the Future Claimants’ Representative
                           Liability Insurance, the cost of which is expected to be
                           approximately $100,000 per year and which insurance the Future
                           Claimants’ Representative shall obtain once appointed.

                    (f)    Indemnification. The Future Claimants’ Representative shall not
                           be liable for any damages, or have any obligation other than as
                           prescribed by order of the Court; provided, however, that the
                           Future Claimants’ Representative may be liable for damages
                           caused by willful misconduct or gross negligence. The Future
                           Claimants’ Representative shall not be liable to any person as a
                           result of any action or omission taken or made in good faith. The
                           Debtor shall indemnify, defend, and hold harmless Ms. Ellis, her
                           employees, and professionals (individually an “Indemnified
                           Party”) from all claims against any of them, and all losses, claims,
                           damages or liabilities (or actions in respect thereof) to which any
                           of them may become subject, as a result of or in connection with
                           such party rendering services pursuant to any order approving this
                           Motion or to the Future Claimants’ Representative, unless and until
                           it is finally judicially determined that such losses, claims, damages
                           or liabilities were caused by willful misconduct or gross
                           negligence on the part of such Indemnified Party. If before the
                           earlier of (i) the entry of an order confirming a plan of
                           reorganization in this case, and such order having become final and
                           no longer subject to appeal, and (ii) the entry of an order closing
                           this Chapter 11 Case, an Indemnified Party believes that he, she or
                           it is entitled to payment of any amount by the Debtor on account of
                           the Debtor’s obligation to indemnify, defend, and hold harmless as
                           set forth herein, including, without limitation, the advancement of
                           defense costs, the Indemnified Party must file an application for
                           such amounts with the Court, and the Debtor may not pay any such

                                            -11-
 NAI-1535876060
  Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 12 of 14



                                 amounts to the Indemnified Party before the entry of an order by
                                 the Court authorizing such payments. The preceding sentence is
                                 intended to specify the period of time during which the Court has
                                 jurisdiction over the Debtor’s obligations to indemnify, defend and
                                 hold harmless as set forth herein, and is not a limitation on the
                                 duration of the Debtor’s obligation to indemnify any Indemnified
                                 Party. In the event that a cause of action is asserted against any
                                 Indemnified Party arising out of or relating to the performance of
                                 his, her or its duties pursuant to any order approving the Motion or
                                 to the Future Claimants’ Representative, the Indemnified Party
                                 shall have the right to choose his, her or its own counsel. For the
                                 avoidance of doubt, gross negligence, willful misconduct, bad faith
                                 or fraud on the part of one Indemnified Party shall not preclude
                                 indemnification for the other Indemnified Parties. Any such
                                 indemnification shall be an allowed administrative expense under
                                 section 503(b) of the Bankruptcy Code and shall be paid upon
                                 application to and approval of this Court.

                         (g)     Right to Receive Notices. Ms. Ellis and any Court-approved
                                 counsel retained by Ms. Ellis will be deemed members of
                                 the “Master Service List” (or equivalent thereof) in the Guidelines
                                 Establishing Case Management and Administrative Procedures for
                                 Cases Designated as Complex Chapter 11 Cases establishing
                                 certain notice, case management and administrative procedures
                                 (the “Case Management Procedures”).

                         (h)     Termination of Appointment. Unless otherwise ordered by
                                 the Court or provided for in any confirmed plan of reorganization,
                                 Ms. Ellis’ appointment as the Future Claimants’ Representative
                                 will terminate upon the effective date of a plan of reorganization in
                                 this Chapter 11 Case or otherwise by written resignation or
                                 incapacity to serve.

                  23.    The Debtor believes that the proposed terms of Ms. Ellis’ employment are

 consistent with the terms typically approved by bankruptcy courts for such appointments and are

 the same terms on which Ms. Ellis was retained in the 2021 Chapter 11 Case.

                  24.    For all the foregoing reasons, the Debtor submits that the appointment of

 Ms. Ellis as the Future Claimants’ Representative is in the best interests of the Debtor, its estate,

 the future talc claimants, and all other parties in interest.




                                                   -12-
 NAI-1535876060
  Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 13 of 14



                                  Waiver of Memorandum of Law

                  25.    The Debtor respectfully requests that the Court waive the requirement to

 file a separate memorandum of law pursuant to D.N.J. LBR 9013-1(a)(3) because the legal basis

 upon which the Debtor relies on is incorporated herein and the Motion does not raise any novel

 issues of law.

                                                Notice

                  26.    Notice of this Motion has been provided to (a) the Office of the United

 States Trustee for the District of New Jersey; (b) the top law firms representing talc claimants

 against the Debtor, as identified in the Debtor’s chapter 11 petition; (c) counsel to the Debtor’s

 non-debtor affiliates, Johnson & Johnson Holdco (NA) Inc. and Johnson & Johnson; (d) the

 proposed Future Claimants’ Representative and her proposed counsel; and (e) all parties in

 interest having filed notices of appearance in this Chapter 11 Case. In light of the nature of the

 relief requested herein, the Debtor respectfully submits that no other or further notice need be

 provided.

                                          No Prior Request

                  27.    No prior request for the relief sought in this Motion has been made to this

 or any other court in connection with this Chapter 11 Case.

                  WHEREFORE, the Debtor respectfully requests that the Court enter an order

 substantially in the form submitted herewith: (a) appointing Randi S. Ellis as the Future

 Claimants’ Representative; and (b) granting such other and further relief to the Debtor as the

 Court may deem just and proper.




                                                 -13-
 NAI-1535876060
  Case 23-12825-MBK Doc 87-1 Filed 04/10/23 Entered 04/10/23 16:16:21 Desc
Debtors Motion for an Order Appointing Randi S. Ellis as Legal Representa Page 14 of 14



  Dated: April 10, 2023                     WOLLMUTH MAHER & DEUTSCH LLP

                                            /s/ Paul R. DeFilippo
                                            Paul R. DeFilippo, Esq.
                                            James N. Lawlor, Esq.
                                            Joseph F. Pacelli, Esq. (pro hac vice pending)
                                            500 Fifth Avenue
                                            New York, New York 10110
                                            Telephone: (212) 382-3300
                                            Facsimile: (212) 382-0050
                                            pdefilippo@wmd-law.com
                                            jlawlor@wmd-law.com
                                            jpacelli@wmd-law.com

                                            JONES DAY
                                            Gregory M. Gordon
                                            Brad B. Erens
                                            Dan B. Prieto
                                            Amanda Rush
                                            2727 N. Harwood Street
                                            Dallas, Texas 75201
                                            Telephone: (214) 220-3939
                                            Facsimile: (214) 969-5100
                                            gmgordon@jonesday.com
                                            bberens@jonesday.com
                                            dbprieto@jonesday.com
                                            asrush@jonesday.com
                                            (Admission pro hac vice pending)

                                            PROPOSED ATTORNEYS FOR DEBTOR




                                         -14-
 NAI-1535876060
